Case 4:22-cv-00184-ALM Document 23-1 Filed 05/23/22 Page 1 of 2 PageID #: 133




                ATTACHMENT
       Case 4:22-cv-00184-ALM Document 23-1 Filed 05/23/22 Page 2 of 2 PageID #: 134




From: Neil Matkin <nmatkin@collin.edu>
Sent: Sunday, August 4, 2019 4:44 PM
Subject: El Paso Shooting

Friends,

The press has reached out to multiple campus administrators and district personnel regarding the El Paso shooting. At this
time, it is believed that the shooter was a college student as late as spring 2019.

I have issued a statement as follows(forgive the size - working from home):




                                  oCOLLIN              COLLEGE

           Allots,2019



                                                   Statement


           Wc ate Bddened and honiiied by die news ofthe shooting today in E!Paso,Texas.K student
           by the name ofPatiick Ciusius attended CoIHn            bom &D 2017 thnxigb sptii^ 2019.


           Collin CoU^ is prqiarcd to coopetate iulty with state and fedctal audiotities in dtcir
           tnvesds*don ofthis sctrndns in^edy. We join the govetnor and all Texans in cxpicssng our
           beattfidt oonecra for the vietiffis ofthe thootn^ and their loved one*.

                                                                                      Or.Nea Matkin
                                                                            Diaria Pn^iiait, GidSs Ctikgf




Please refer all press inquiries you may receive to Marisela Cadena-Smith at MCSmith@colIin.edu or by phone to the
president's office (972-758-3800). Any law enforcement personnel should be referred to Chief Bill Taylor
at wtavlor@collin.edu or by phone to the president's office.

Please keep the El Paso(and also the Ohio)victims and their in your thoughts and prayers.

Thank you all,

Neil
